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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                            )      CASE NO. 18-05872-jw
  IN RE:                                    )      CHAPTER 13
  CHARLES JOSLYN ZIFF                       )
  (AKA Charles J. Ziff)                     )      NOTICE OF MOTION FOR RELIEF
                        DEBTOR              )      FROM AUTOMATIC STAY
                                            )      (11 U.S.C. § 362)


  TO: DEBTOR(S), TRUSTEE (if applicable) AND THOSE NAMED IN THE ATTACHED
  MOTION:

         PLEASE TAKE NOTICE THAT a hearing will be held on the attached Motion on:

           Date: March 12, 2019
           Time: 10:30 AM
           Place: 145 King Street, Room 225, Charleston, SC 29401

         Within 14 days after service of the attached Motion, the Notice of Motion, the
  Movant’s Certification of Facts (and a blank Certification of Facts for applicable to service on
  pro se parties only), any party objecting to the relief sought shall:
         1)      File with the Clerk a written objection to the 11 U.S.C. § 362 Motion;
         2)      File with the Clerk a Certification of Facts;
         3)      Serve on the Movant items 1 & 2 above at the address shown below; and
         4)      File a certificate of such with the Clerk.
         If you fail to comply with this procedure, you may be denied the opportunity to
  appear and be heard on this proceeding before the court.

  DATE OF SERVICE:                  February 14, 2019
  MOVANT:                           Regions Bank dba Regions Mortgage
  ATTORNEY:                         /s/ Travis Menk
                                    Travis Menk, # 10686
                                    Brock and Scott, PLLC
  ATTORNEY’S ADDRESS:               8757 Red Oak Blvd., Suite 150
                                    Charlotte, NC 28217
                                    Phone: Ph: 704-369-0676
                                    scbkr@brockandscott.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

                                           )    CASE NO. 18-05872-jw
  IN RE:                                   )    CHAPTER 13
  CHARLES JOSLYN ZIFF                      )
  (AKA Charles J. Ziff)                    )    MOTION FOR RELIEF
                        DEBTOR             )    FROM AUTOMATIC STAY
                                           )    (11 U.S.C. § 362)



                   MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Regions Bank dba Regions Mortgage (hereinafter “Movant”), a secured
  creditor in the above-captioned case, by and through counsel, Brock & Scott, PLLC, and
  moves this Court to enter an order granting its request for relief from the automatic stay
  imposed by 11 U.S.C. § 362(a) on the following grounds:
         1.     That Regions Bank dba Regions Mortgage is a secured creditor of the Debtor(s)
                and thus a party in interest.
         2.     That the above-captioned Debtor(s) filed a petition seeking relief pursuant to
                Chapter 13 of the United States Bankruptcy Code in this District on or about
                November 19, 2018.
         3.     The Debtor holds title to the real property (hereinafter “Collateral”) described in
                that Mortgage recorded in the Richland County County Register of Deeds in
                Book 1441 at Page 1942 and recorded on June 25, 2008 (hereinafter
                “Mortgage”) with an address of 418 Edisto Ave, Columbia, SC 29205. A copy
                of the Mortgage and Note are attached hereto and incorporated herein as Exhibit
                “A”.
         4.     Movant holds a Promissory Note secured by the Mortgage from the Debtor in
                the original principal amount of $417,000.00 and dated June 23, 2008
                (hereinafter “Note”).
         5.     The Debtor has scheduled the value of the Collateral at $495,200.00.
         6.     Upon information and belief, the approximate payoff due and owing to Movant
                as of January 11, 2019 is $341,843.38.
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        7.     Upon information and belief, the Debtor is surrendering his interest in the
               Collateral.
        8.     As a result, Movant lacks adequate protection of its interest in the Collateral.
               By virtue of such lack of protection, good cause exists to lift the automatic stay
               imposed hereunder.      Otherwise, Movant will suffer irreparable harm with
               respect to Movant’s interest in the Collateral.
        9.     Movant agrees to waive any claim that may arise under 11 U.S.C. Section
               503(b) or Section 507(b) as a result of this Order. Movant further agrees that
               any funds realized from the foreclosure sale, in excess of all liens, costs, and
               expenses, will be paid to the Trustee.


               WHEREFORE, Movant respectfully requests the entry of an Order:
               1.     That modifies the automatic stay provisions of 11 U.S.C. § 362 and that
                      allows Regions Bank dba Regions Mortgage to immediately proceed to
                      foreclose its security interest in the property described in Exhibit “A”
                      annexed to this Motion and otherwise pursue any remedies available
                      under state law to recover and liquidate its collateral;
               2.     That waives the effect of Bankruptcy Rule 4001 (a)(3); and
               3.     Provides for such other and further relief as the Court deems just and
                      proper.

        This, the 14th day of February 2019.

                                                /s/ Travis Menk
                                                Travis Menk, # 10686
                                                Brock and Scott, PLLC
                                                8757 Red Oak Blvd., Suite 150
                                                Charlotte, NC 28217
                                                Phone: Ph: 704-369-0676
                                                scbkr@brockandscott.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

                                         )
                                               CASE NO. 18-05872-jw
  IN RE:                                 )
                                               CHAPTER 13
  CHARLES JOSLYN ZIFF                    )
  (AKA Charles J. Ziff)                  )
                                               CERTIFICATION OF FACTS
                        DEBTOR           )
                                         )

        In the above-entitled case, in which relief is sought by Regions Bank dba Regions
        Mortgage from automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the
        best of my knowledge the following:

        1.     Nature of Movant’s Interest: Movant holds the first mortgage on property
               located at 418 Edisto Ave, Columbia, SC 29205.

        2.    Brief Description of Security Agreement (copy attached): Mortgage

        3.     Description of Property Encumbered by Stay (Include serial number, lot and
               block number, etc.: All that lot of land, with improvements thereon, situate, in
               the State of South Carolina, County of Richland, the same being
               composed of the northern and major portion of Lot 90, all of Lots
               91, 92, 93 and the southern and minor portion of Lot No. 94,
               block Q on a plat of Wales Gardens by M. Goode Homes dated June,
               1914, amended April 1920 and recorded in the office of the RMC
               in Plat book D at page 107. Being more particularly shown on a
               plat prepared for Leland F. Tomlinson and Lora K. Meadows by Cox
               and Dinkins, Inc., dated March 1, 1994 and recorded in the
               Richland County ROD in book 55 at page 1479, and having such
               boundaries and measurements as are shown on said plat, reference
               being made thereto for a more complete and accurate description.
               This conveyance is subject to all those covenants, easements and
               restrictions of record.

               Street Address: 418 Edisto Avenue, Columbia, SC 29205
               TMS: 11311-02-36

               Derivation: This being the same property conveyed to Leland F.
               Tomlinson and Lora K. Meadows by deed of Randall Meads Chastain
               dated March 22, 1994 and recorded March 28, 1994 in book 1189 at
               page 616 in the office of ROD for Richland County.

        4.     Basis for Relief: Lack of adequate protection. §362(d)(1) and (2). Property
               being surrendered.
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          5.       Prior Adjudication by Other Courts, copy attached (Decree of foreclosure,
                   Order for possession, Levy of execution, etc., if applicable: N/A

          6.       Valuation of Property copy of Valuation attached:
                    Fair Market Value            $495,200.00
                    Senior Liens:                $0.00
                    Movant’s Lien:               $341,843.38
                    Other Liens:                 $0.00
                    Net Equity                   $153,356.62
                    Source/Basis of Value        Schedule

          7.       Amount of Debtor estimated equity (using figures from paragraph 6):
                   $153,356.62

          8.       Month and Year in which first direct post-petition payment came due to Movant
                   (if applicable): December 1, 2018

          9.       (a) For Movant / Lienholder (if applicable): list or attach a list of all post-
                   petition payments received directly from debtor(s), clearly showing date
                   received, amount and month and year of which each such payment was
                   applied.1

                   (b) For Objecting party (if applicable): list or attach a list of all post-petition
                   payments included in the Movant’s list from (a) above which objecting party
                   disputes as having been made. Attach written proof of such payment(s) or a
                   statement as to why such proof is not available at the time of filing this
                   objection.

          10.      Month and year for which post-petition account of Debtor(s) is due as of the
                   date of this Motion: January 1, 2019

                   See attached payment history.

  Dated: February 14, 2019
                                                        /s/ Travis Menk
                                                        Travis Menk, # 10686
                                                        Brock and Scott, PLLC
                                                        8757 Red Oak Blvd., Suite 150
                                                        Charlotte, NC 28217
                                                        Phone: Ph: 704-369-0676
                                                        scbkr@brockandscott.com


  1
          This requirement may not be met by the attachment of a payment history generated by the Movant. Such
  attachment may be utilized as a supplement to a complete and detailed response to (9)(a) above, which should be
  shown on this certification.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                           )
  IN RE:                                   )
  CHARLES JOSLYN ZIFF                      )     CASE NO. 18-05872-jw
  (AKA Charles J. Ziff)                    )     CHAPTER 13
                        DEBTOR             )
                                           )


                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies under penalty of perjury that he/she is over eighteen
  (18) years of age and that the MOTION FOR RELIEF FROM AUTOMATIC STAY, NOTICE
  OF MOTION, CERTIFICATION OF FACTS AND CERTIFICATE OF SERVICE in the
  above captioned case were this day served upon the below named persons by mailing, postage
  prepaid, first class mail a copy of such instrument to each person(s), parties, and/or counsel at
  the addresses shown below:

  Charles Joslyn Ziff
  1871 Ashley River Road #3101
  Charleston, SC 29407

  R. Michael Drose
  3955 Faber Place Drive
  Ste 103
  North Charleston, SC 29405

  James M. Wyman
  PO Box 997
  Mount Pleasant, SC 29465-0997


  This, the 14th day of February 2019.
                                                 Brock and Scott, PLLC

                                                 /s/ Travis Menk
                                                 Travis Menk, # 10686
                                                 Brock and Scott, PLLC
                                                 8757 Red Oak Blvd., Suite 150
                                                 Charlotte, NC 28217
                                                 Phone: Ph: 704-369-0676
                                                 scbkr@brockandscott.com
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